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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLNOIS
                                  EASTERN DIVISION

ADVANTAGE FUNDING COMMERCIAL                          )
CAPITAL CORP., a New York corporation                 )
                                                      )
                       Plaintiff,                     )
                                                      )         Case No.
               v.                                     )
                                                      )         Amount Claimed: $395,984.00, plus
RP QUALITY, INC. an Illinois corporation;             )         prejudgment interest at the rate of
QUO VADIS EXPRESS, INC. an Illinois                   )         five percent (5%) per annum and
corporation; and RENATA JASINSKA,                     )         attorneys’ fees and costs.
individually,                                         )
                                                      )
                       Defendants.                    )

                                     VERIFIED COMPLAINT

        NOW COMES Plaintiff, ADVANTAGE FUNDING COMMERCIAL CAPITAL CORP.,

a New York corporation (“Advantage”), by and through counsel, and for its Complaint against

Defendants RP QUALITY, INC., an Illinois corporation (“RP Quality”), QUO VADIS EXPRESS,

INC., an Illinois corporation (“Express”), and RENATA JASINSKA, individually (“Jasinska”) (or

collectively referred to as “Defendants”), states as follows:

                                            PARTIES

        1.     Advantage is a New York corporation with its principal place of business located

at 3 Dakota Dr., Lake Success, NY 11042, and is fully authorized to do business in the State of

Illinois.

        2.     RP Quality is an Illinois corporation with its principal place of business located at

595 Alcoa Ln., Hoffman Estates, IL 60169. Upon information and belief, based on records of the

Illinois Secretary of State, RP Quality’s sole shareholder and officer is Jasinska.


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        3.     Express is an Illinois corporation with its principal place of business located at 600

Bonnie Ln., Elk Grove Village, IL 60007. Upon information and belief, based on records of the

Illinois Secretary of State, Express’ sole shareholder and officer is Jasinska.

        4.      Jasinska is a citizen of the State of Illinois residing at 595 Alcoa Ln., Hoffman

Estates, IL 60169.

                                         JURISDICTION

        5.     Jurisdiction is appropriate in this Court pursuant to 28 U.S.C. § 1332. The parties

are located in different states and the amount in controversy exceeds $75,000.00 exclusive of

interest and costs.

        6.     Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391, because a

substantial part of the events or omissions giving rise to Advantage’s claims occurred in this

district, RP Quality and Express conduct business in this district, and Jasinska resides in this

district.

                               BACKGROUND – RP QUALITY

        7.     On or about March 19, 2018, Advantage and RP Quality entered into a Master

Promissory Note and Security Agreement (corresponding Account No. 4039-50631) (“RP Quality

MSA”), wherein Advantage, as lender, financed the purchase of a 2015 International 4300

Durastar Box Truck, VIN: 1HTMMMML7FH690019, and RP Quality, as borrower, granted

Advantage a first priority security interest in the same. A true and correct copy of the RP Quality

MSA is attached hereto as Exhibit 1. A copy of the title reflecting Advantage’s lien is attached

hereto as Exhibit 2.




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       8.         On or about March 19, 2018, to induce Advantage to enter into the RP Quality

MSA and subsequent transactions, Jasinska executed a Continuing Guaranty in which she

personally guaranteed the full and prompt payment and performance of all of RP Quality’s present

and future indebtedness and obligations with Advantage (the “RP Quality Continuing Guaranty”).

A true and correct copy of the RP Quality Continuing Guaranty, is attached hereto and incorporated

in Exhibit 3.

       a)         RP Quality MSA with Account No. 4039-50631

       9.         Pursuant to the RP Quality MSA, RP Quality agreed to make forty-eight (48)

consecutive monthly payments of $1,436.00, plus applicable fees and costs. See Exhibit 1.

       10.        RP Quality failed to make the payment due November 22, 2018, and all payments

due thereafter.

       11.        Failure to make the monthly payments is an event of default under the RP Quality

MSA and the RP Quality Continuing Guaranty. See Exhibits 1 and 3.

       12.        As a result of the default under the RP Quality MSA and the RP Quality Continuing

Guaranty, Advantage is entitled to payment of the accelerated balance, plus attorneys’ fees and

costs, and all other relief provided under the RP Quality MSA and the RP Quality Continuing

Guaranty. See Exhibits 1 and 3.

       13.        Advantage demanded payment from the Defendants pursuant to the RP Quality

MSA and RP Quality Continuing Guaranty, but the Defendants have failed and refused to make

payment.

       14.        Advantage has fully performed its obligations under the terms of the RP Quality

MSA.


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        b)     First Addendum to RP Quality MSA with Account No. 4039-51051

        15.    On or about May 1, 2018, RP Quality entered into an addendum to the RP Quality

MSA with Advantage (corresponding Account No. 4039-51051) (the “RP Quality First

Addendum”),      for   the    purchase    of    a       2017   HINO    268    Box     Truck,   VIN:

1HTMM5PVNJ8JV0H4S63427. RP Quality granted Advantage a first priority security interest in

the same. A true and correct copy of the RP Quality First Addendum is attached hereto as Exhibit

4. A copy of the title reflecting Advantage’s lien is attached hereto as Exhibit 5.

        16.    Pursuant to the RP Quality First Addendum, RP Quality agreed to make sixty (60)

consecutive monthly payments of $1,503.00, plus applicable fees and costs. See Exhibit 4.

        17.    RP Quality failed to make the payment due October 1, 2018, and all payments due

thereafter.

        18.    Failure to make the monthly payments is an event of default under the RP Quality

MSA and the RP Quality Continuing Guaranty. See Exhibits 1 and 3.

        19.    As a result of the default, Advantage repossessed the 2017 HINO 268 Box Truck,

VIN: 1HTMM5PVNJ8JV0H4S63427, which is pending sale at auction.

        20.    Upon repossession, Advantage found that several key components of the 2017

HINO 268 Box Truck, VIN: 1HTMM5PVNJ8JV0H4S63427 were missing, such as the engine,

transmission, radiator, and all attaching engine components (“Missing Collateral”).

        21.    As a result of the default under the RP Quality MSA and the RP Quality Continuing

Guaranty, Advantage is entitled to payment of the accelerated balance, plus attorneys’ fees and

costs, and all other relief provided under the RP Quality MSA and the RP Quality Continuing

Guaranty. See Exhibits 1 and 3.


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        22.    Advantage demanded payment from the Defendants pursuant to the RP Quality

MSA and RP Quality Continuing Guaranty, but the Defendants have failed and refused to make

payment.

        23.    Advantage has fully performed its obligations under the terms of the RP Quality

MSA.

        c)     Second Addendum to RP Quality MSA with Account No. 4039-51529

        24.    On or about May 17, 2018, RP Quality entered into an addendum to the RP Quality

MSA with Advantage (corresponding Account No. 4039-51529) (the “RP Quality Second

Addendum”), for the purchase of a 2017 International 4300 Durastar Box Truck, VIN:

1HTMMMML3HH430381. RP Quality granted Advantage a first priority security interest in the

same. A true and correct copy of the RP Quality Second Addendum is attached hereto as Exhibit

6. A copy of the title reflecting Advantage’s lien is attached hereto as Exhibit 7.

        25.    Pursuant to the RP Quality Second Addendum, RP Quality agreed to make sixty

(60) consecutive monthly payments of $1,633.00, plus applicable fees and costs. See Exhibit 6.

        26.    RP Quality failed to make the payment due October 17, 2018, and all payments due

thereafter.

        27.    Failure to make the monthly payments is an event of default under the RP Quality

MSA and the RP Quality Continuing Guaranty. See Exhibits 1 and 3.

        28.    As a result of the default, Advantage repossessed the 2017 International 4300

Durastar Box Truck, VIN: 1HTMMMML3HH430381, which is pending sale at auction.

        29.    Upon repossession, Advantage found that several key components of the 2017

International 4300 Durastar Box Truck, VIN: 1HTMMMML3HH430381 were missing, such as


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the engine, transmission, radiator, and all attaching engine components (with the Missing

Collateral in ¶ 20, collectively referred to as the “Missing Collateral”).

       30.     As a result of the default under the RP Quality MSA and the RP Quality Continuing

Guaranty, Advantage is entitled to payment of the accelerated balance, plus attorneys’ fees and

costs, and all other relief provided under the RP Quality MSA and the RP Quality Continuing

Guaranty. See Exhibits 1 and 3.

       31.     Advantage demanded payment from the Defendants pursuant to the RP Quality

MSA and RP Quality Continuing Guaranty, but the Defendants have failed and refused to make

payment.

       32.     Advantage has fully performed its obligations under the terms of the RP Quality

MSA.

                                  BACKGROUND – EXPRESS

       33.     On or about August 20, 2018, Advantage and Express entered into a Master

Promissory Note and Security Agreement (corresponding Account No. 4039-52497) (“Express

MSA”), wherein Advantage, as lender, financed the purchase of a 2015 International 4300

Durastar Box Truck, VIN: 1HTMMMMLXGH145353 and a 2016 International 4300 Durastar

Box Truck, VIN: 3HAMMMML0GL112209, and Express, as borrower, granted Advantage a

security interest in the same. A true and correct copy of the Express MSA is attached hereto as

Exhibit 8.

       34.     On or about August 22, 2018, Advantage and Express entered into an addendum to

the Express MSA to amend the vehicle year of the 2015 International 4300 Durastar Box Truck,

VIN: 1HTMMMMLXGH145353 to 2016 International 4300 Durastar Box Truck, VIN:


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1HTMMMMLXGH145353 (“Express Addendum”). A true and correct copy of the Express

Addendum is attached hereto as Exhibit 9.

        35.   On or about August 20, 2018, to induce Advantage to enter into the Express MSA,

Jasinska executed a Continuing Guaranty in which she personally guaranteed the full and prompt

payment and performance of all of Express’s present and future indebtedness and obligations with

Advantage (the “Express Continuing Guaranty”). A true and correct copy of the Express

Continuing Guaranty, is attached hereto and incorporated in Exhibit 10.

        36.   Pursuant to the Express MSA, Express agreed to make forty-eight (48) consecutive

monthly payments of $3,436.00, plus applicable fees and costs. See Exhibit 8.

        37.   Express failed to make the payment due October 22, 2018, and all payments due

thereafter.

        38.   Failure to make the monthly payments is an event of default under the Express

MSA and the Express Continuing Guaranty. See Exhibits 8 and 10.

        39.   As a result of the default under the Express MSA and the Express Continuing

Guaranty, Advantage is entitled to payment of the accelerated balance, plus attorneys’ fees and

costs, and all other relief provided under the Express MSA and the Express Continuing Guaranty.

See Exhibits 8 and 10.

        40.   Advantage demanded payment from the Defendants pursuant to the Express MSA

and Express Continuing Guaranty, but the Defendants have failed and refused to make payment.

        41.   Advantage has fully performed its obligations under the terms of the Express MSA.




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                           COUNT I – BREACH OF CONTRACT
                         AGAINST DEFENDANT RP QUALITY, INC.

          42.    Advantage repeats and realleges Paragraphs 1 through 41 as though fully set forth

herein.

          43.    RP Quality defaulted under the RP Quality MSA by failing and refusing to make

payments when due.

          44.    Because of RP Quality’s default under the RP Quality MSA, RP Quality is indebted

to Advantage in the amount of $234,492.00 plus prejudgment interest at five percent (5%) per

annum continuing to accrue until judgment is made, plus attorneys’ fees and costs.

          WHEREFORE, Plaintiff Advantage respectfully requests that the Court enter judgment in

its favor and against Defendant RP Quality in the amount of $234,492.00, plus prejudgment

interest at five percent (5%) per annum continuing to accrue until judgment is made, plus attorneys’

fees and costs, and grant such other and further relief as this Court deems just.

                         COUNT II – BREACH OF CONTRACT
                    AGAINST DEFENDANT QUO VADIS EXPRESS, INC.

          45.    Advantage repeats and realleges Paragraphs 1 through 44 as though fully set forth

herein.

          46.    Express defaulted under the Express MSA by failing and refusing to make

payments when due.

          47.    Because of Express’s default under the Express MSA, Express is indebted to

Advantage in the amount of $161,492.00 plus prejudgment interest at five percent (5%) per annum

continuing to accrue until judgment is made, plus attorneys’ fees and costs.




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          WHEREFORE, Plaintiff Advantage respectfully requests that the Court enter judgment in

its favor and against Defendant Express in the amount of $161,492.00, plus prejudgment interest

at five percent (5%) per annum continuing to accrue until judgment is made, plus attorneys’ fees

and costs, and grant such other and further relief as this Court deems just.

                   COUNT III- BREACH OF CONTINUING GUARANTIES
                      AGAINST DEFENDANT RENATA JASINSKA

          48.    Advantage repeats and realleges Paragraphs 1 through 47 as though fully set forth

herein.

          49.    Jasinska defaulted under the Express Continuing Guaranty and RP Quality

Continuing Guaranty by failing and refusing to make payments when due.

          50.    Because of Jasinska’s default under the Express Continuing Guaranty and RP

Quality Continuing Guaranty, Jasinska is indebted to Advantage in the amount of $395,984.00,

plus prejudgment interest at five percent (5%) per annum continuing to accrue until a judgment is

made, plus attorneys’ fees and costs.

          WHEREFORE, Plaintiff Advantage respectfully requests that the Court enter judgment in

its favor and against Defendant Jasinska in the amount of $395,984.00, plus prejudgment interest

at five percent (5%) per annum continuing to accrue until a judgment is made, plus attorneys’ fees

and costs, and grant such other and further relief as this Court deems just.

                COUNT IV - REPLEVIN AGAINST RP QUALITY, INC. UNDER
                              735 Ill. Comp. Stat. § 5/19-101

          51.    Advantage re-alleges paragraphs 1 through 50 as though fully set forth herein.

          52.    This claim is brought pursuant to 735 ILCS § 5/19-101, et seq., made applicable to

this proceeding pursuant to 28 U.S.C. ' 1652, for the collateral located in Illinois.


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        53.     Advantage is the first lienholder on the vehicles as evidenced by its lien(s) reflected

on the titles to the vehicles.

        54.     Due to RP Quality’s default under the RP Quality MSA (and related Addenda),

Advantage is entitled to the return of and the exclusive possession of the vehicles, specifically:

                a.      One      (1)   2015   International   4300   Durastar   Box    Truck,    VIN:

                1HTMMMML7FH690019 with a fair market value of $35,000.00.

        55.     RP Quality refuses to surrender the vehicles voluntarily. Upon information and

belief, the vehicles are located at 595 Alcoa Ln., Hoffman Estates, IL 60169.

        56.     RP Quality is wrongfully and unlawfully detaining the vehicles from Advantage.

        57.     The vehicles have not been taken for any tax, assessment, or fine levied by virtue

of any law of this State, against the property of such plaintiff, or against him or her individually,

nor seized under any lawful process against the goods and chattels of such plaintiff subject to such

lawful process, nor held by virtue of any order for replevin against such plaintiff.

        58.     Advantage has made demand upon RP Quality for the return of the vehicles, but

RP Quality refused to return the same.

        WHEREFORE, Advantage respectfully requests that this Court enter an Order of Replevin,

directing the US Marshall or any other designated officer, to use all necessary force to repossess

the vehicles, or any portion thereof, from RP Quality at 595 Alcoa Ln., Hoffman Estates, IL 60169

or wherever they may be found, plus attorney’s fees and costs, as well as all other and further relief

which this Court deems just.

         COUNT V - REPLEVIN AGAINST QUO VADIS EXPRESS, INC. UNDER
                          735 Ill. Comp. Stat. § 5/19-101

        59.     Advantage re-alleges paragraphs 1 through 58 as though fully set forth herein.

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       60.     This claim is brought pursuant to 735 ILCS § 5/19-101, et seq., made applicable to

this proceeding pursuant to 28 U.S.C. ' 1652, for the collateral located in Illinois.

       61.     Advantage has a valid security interest in the vehicle(s) as evidenced by the Express

MSA.

       62.     Due to Express’s default under the Express MSA, Advantage is entitled to the

return of and the exclusive possession of the vehicle(s), specifically:

               a.      One    (1)   2016    International   4300   Durastar    Box      Truck,   VIN:

               1HTMMMMLXGH145353 with a fair market value of $45,000.00;

               b.      One    (1)   2016    International   4300   Durastar    Box      Truck,   VIN:

                    3HAMMMML0GL112209 with a fair market value of $45,000.00.

       63.     Express refuses to surrender the vehicle(s) voluntarily. Upon information and

belief, the vehicles are located at 600 Bonnie Ln., Elk Grove Village, IL 60007.

       64.     Express is wrongfully and unlawfully detaining the vehicles from Advantage.

       65.     The vehicles have not been taken for any tax, assessment, or fine levied by virtue

of any law of this State, against the property of such plaintiff, or against him or her individually,

nor seized under any lawful process against the goods and chattels of such plaintiff subject to such

lawful process, nor held by virtue of any order for replevin against such plaintiff.

       66.     Advantage has made demand upon Express for the return of the vehicles, but

Express refused to return the same.

       WHEREFORE, Advantage respectfully requests that this Court enter an Order of Replevin,

directing the US Marshall or any other designated officer, to use all necessary force to repossess

the vehicles, or any portion thereof, from Express at 600 Bonnie Ln., Elk Grove Village, IL 60007


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or wherever they may be found, plus attorney’s fees and costs, as well as all other and further relief

which this Court deems just.

                            COUNT VI - DETINUE AGAINST
                       RP QUALITY, INC. AND RENATA JASINSKA

       67.     Advantage re-alleges paragraphs 1 through 66 as though fully set forth herein.

       68.     Jasinska is the Agent, Secretary, and President of RP Quality and controls its

operations, including the vehicles.

       69.     Due to RP Quality’s default under the RP Quality MSA, Advantage is entitled to

the return of and the exclusive possession of the vehicles, specifically:

               a.      One     (1)    2015   International   4300   Durastar   Box     Truck,   VIN:

               1HTMMMML7FH690019.

       70.     RP Quality and Jasinska refuse to surrender the vehicles voluntarily.

       71.     RP Quality and Jasinska are wrongfully and unlawfully detaining the vehicles from

Advantage.

       72.     Advantage is entitled to an order directing RP Quality and Jasinska to turn over the

Collateral within seven (7) calendar days, or such other reasonable time period as the Court may

determine.

       WHEREFORE, Advantage respectfully requests that this Court enter an Order compelling

RP Quality and Jasinska to return the vehicles to Advantage by delivering the same to Advantage’s

agent (to be designated by Advantage) within 7 calendar days; and Advantage requests all other

relief that this Court deems just.




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                           COUNT VII - DETINUE AGAINST
                    QUO VADIS EXPRESS, INC. AND RENATA JASINSKA

       73.     Advantage re-alleges paragraphs 1 through 72 as though fully set forth herein.

       74.     Jasinska is the President of Express and controls its operations, including the

vehicles.

       75.     Due to Express’s default under the Express MSA, Advantage is entitled to the

return of and the exclusive possession of the vehicles, specifically:

               a.      One    (1)    2016   International   4300   Durastar   Box   Truck,   VIN:

               1HTMMMMLXGH145353;

               b.      One    (1)    2016   International   4300   Durastar   Box   Truck,   VIN:

               3HAMMMML0GL112209.

       76.     Express and Jasinska refuse to surrender the vehicles voluntarily.

       77.     Express and Jasinska are wrongfully and unlawfully detaining the vehicles from

Advantage.

       78.     Advantage is entitled to an order directing Express and Jasinska to turn over the

Collateral within seven (7) calendar days, or such other reasonable time period as the Court may

determine

       WHEREFORE, Advantage respectfully requests that this Court enter an Order compelling

Express and Jasinska to return the vehicles to Advantage by delivering the same to Advantage’s

agent (to be designated by Advantage) within 7 calendar days; and Advantage requests all other

relief that this Court deems just.




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                          COUNT VIII - COVERSION AGAINST
                       RP QUALITY, INC. AND RENATA JASINSKA

        79.     Advantage realleges paragraphs 1 through 78 as though fully set forth herein.

        80.     As the sole corporate officer of RP Quality, Jasinska actively participated in

converting the Missing Collateral by: failing to return the Missing Collateral to Advantage upon

demand; hiding or detaining the Missing Collateral; and/or disposing of the Missing Collateral by

sale or transfer.

        81.     Pursuant to the RP Quality MSA, Advantage is entitled to possession of the Missing

Collateral.

        82.     Pursuant to the RP Quality MSA, Advantage is entitled to immediate possession of

the Missing Collateral.

        83.     Jasinska asserts wrongful control, dominion or ownership over the Missing

Collateral by: failing to return the Missing Collateral to Advantage upon demand; hiding or

detaining the Missing Collateral; and/or disposing of the Missing Collateral by sale or transfer.

        84.     Advantage demanded that RP Quality and Jasinska, individually, return the Missing

Collateral, but RP Quality and Jasinska have failed to return the same.

        85.     Jasinska’s detention of or disposition of the Missing Collateral is willful or,

alternatively, with gross negligence to indicate a wanton disregard of Advantage’s right to the

Missing Collateral

        86.     Due to Jasinska depriving Advantage of the Missing Collateral, Advantage has

been damaged in the amount of the value of the Missing Collateral, estimated at as approximately

$10,000.00, depending upon condition.

        WHEREFORE, Plaintiff Advantage respectfully requests that the Court enter judgment in

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its favor and against Defendants RP Quality and Jasinska in the amount of $10,000.00, plus

punitive damages, plus statutory interest at the rate of five percent (5%) per annum, and grant such

other and further relief as this Court deems just.



                               ADVANTAGE FUNDING COMMERCIAL CAPITAL CORP.

                                       By:     /s/ Alex Darcy____________
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